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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 NANCY GIMENA HUISHA-HUISHA, on
 behalf of herself and others similarly situated,

                     Plaintiffs,

         v.                                                       Civ. A. No. 21-100 (EGS)

 ALEJANDRO MAYORKAS, Secretary of
 Homeland Security, et al.,

                     Defendants.


 NOTICE REGARDING DECISION TO APPEAL THE COURT’S NOVEMBER 15, 2022
           ORDER AND NOVEMBER 22, 2022 FINAL JUDGMENT
        In Defendants’ opposition to the States’ motion for intervention, Defendants explained that

the government was considering whether to appeal this Court’s November 15, 2022 memorandum

opinion and order and November 22, 2022 final judgment. See ECF No. 174 at 2, 6, 17. Defendants

now respectfully notify the Court that the Solicitor General has authorized an appeal. See 28 C.F.R.

§ 0.20(b). The government will be filing a notice of appeal forthwith. Defendants also respectfully

notify the Court that the Department of Health and Human Services (HHS) and Centers for Disease

Control and Prevention (CDC) have decided to undertake notice-and-comment rulemaking to replace

42 C.F.R. § 71.40, the regulation this Court vacated in its November 15 order.

        Once the appeal is docketed, the government intends to move the D.C. Circuit to hold the

appeal in abeyance pending (i) the Fifth Circuit’s decision in Louisiana v. CDC, No. 22-30303 (5th Cir.),

the government’s appeal of the preliminary injunction enjoining implementation of CDC’s April 1,

2022 Termination Order, and (ii) the forthcoming rulemaking to replace § 71.40. The government

respectfully disagrees with this Court’s decision and would argue on appeal, as it has argued in this

Court, that CDC’s Title 42 Orders were lawful, that § 71.40 is valid, and that this Court erred in

vacating those agency actions. But an abeyance is warranted because other events may render it

unnecessary for the D.C. Circuit to decide those questions.
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        This case is primarily a challenge to CDC’s Title 42 Orders, and CDC itself has already

terminated those orders because it has determined that they are no longer necessary to protect the

public health. If the government prevails in the Louisiana litigation and the Termination Order takes

effect, Plaintiffs’ challenge to the Title 42 Orders will be moot. And although § 71.40 is not at issue

in Louisiana, HHS and CDC have themselves decided to undertake a new rulemaking to reconsider

the framework under which the CDC Director may exercise her authority under 42 U.S.C. § 265 to

respond to dangers posed by future communicable diseases. The outcome of that rulemaking could

likewise moot Plaintiffs’ challenge to § 71.40 (to the extent they would even have standing to challenge
the regulation alone, if the Title 42 Orders primarily at issue were terminated). The Supreme Court

and the D.C. Circuit often place cases into abeyance where, as here, pending regulatory developments

may render further litigation unnecessary. See, e.g., Biden v. Sierra Club, 142 S. Ct. 46 (2021) (No. 20-

138) (placing case in abeyance pending regulatory developments and subsequently vacating lower

court decisions following change in policy); Mayorkas v. Innovation Law Lab, 141 S. Ct. 2842 (2021) (No.

19-1212) (placing case in abeyance pending further agency action and subsequently vacating lower

court decisions following change in policy); Whitman Walker Clinic v. HHS, No. 20-5331 (D.C. Cir.

Feb. 18, 2021) (granting abeyance in light of agency’s decision to undertake rulemaking); Samma v.

Dep’t of Def., No. 20-5320 (D.C. Cir. June 30, 2021) (appeal held in abeyance pending agency

reconsideration).

 Dated: December 7, 2022                               Respectfully submitted,

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